       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 1 of 20




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                :
SECURITIES AND EXCHANGE COMMISSION,             :
                                                :
                                Plaintiff,      :
                                                : 10 Civ. 3229 (KBF)
                        v.                      :
                                                : ECF Case
FABRICE TOURRE,                                 :
                                                :
                                 Defendant.     :
________________________________________________:




             SEC’S MEMORANDUM OF LAW IN OPPOSITION TO
          TOURRE’S MOTION IN LIMINE TO PRECLUDE EVIDENCE OR
              ARGUMENT CONCERNING SCHEME LIABILITY




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            Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 2 of 20




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................3

     A. The SEC’s Amended Complaint..........................................................................................3

     B. Tourre’s Motion to Dismiss the Amended Complaint .........................................................4

     C. Discovery .............................................................................................................................5

     D. Motions for Partial Summary Judgment ..............................................................................5

ARGUMENT ...................................................................................................................................6

I. The SEC’s Scheme Liability Claim Under Both Rule 10b-5(a), (c) and Section
   17(a)(1), (3) Should Be Presented To The Jury .........................................................................6

     A. The Amended Complaint Expressly Alleges Scheme Liability ..........................................7

     B. The Amended Complaint Alleges An Actionable Scheme..................................................8

     C. The Subsections Of The SEC’s Fraud Claims Should Not Be Considered
        Piecemeal ...........................................................................................................................11

     D. The Defense Conducted Discovery Regarding the Alleged Scheme.................................12

II. The Admissibility Of The January 17 Recording At Trial Does Not Depend On
    Scheme Liability ......................................................................................................................13

CONCLUSION ..............................................................................................................................15




                                                                       i
           Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 3 of 20




                                              TABLE OF AUTHORITIES

CASES

Affiliated Ute Citizens of Utah v. United States,
        406 U.S. 128 (1972) ...........................................................................................................12

Durland v. United States,
      161 U.S. 306 (1896) ...........................................................................................................12

Herman & MacLean v. Huddleston,
     459 U.S. 375 (1983) ...........................................................................................................11

IBEW Local 90 Pension Fund v. Deutsche Bank AG,
      No. 11 Civ. 4209(KBF), 2013 WL 1223844 (S.D.N.Y. Mar. 27, 2013) .......................7, 10

In re Alstom SA Sec. Litig.,
        406 F. Supp. 2d 433 (S.D.N.Y. 2005)..................................................................................9

In re Morgan Stanley Info. Fund Sec. Litig.,
       592 F.3d 347 (2d Cir. 2010)...............................................................................................11

In the Matter of Cady, Roberts & Co.,
        40 S.E.C. 907, 1961 WL 60638 (Nov. 8, 1961) ................................................................11

Janus Capital Group, Inc. v. First Derivative Traders,
       131 S. Ct. 2296 (2011) .......................................................................................................12

Santa Fe Industries, Inc. v. Green,
       430 U.S. 462 (1977) ...........................................................................................................11

S.E.C. v. Capital Gains Research Bureau,
        375 U.S. 180 (1963) ...........................................................................................................11

S.E.C. v. First Jersey Securities, Inc.,
        101 F.3d 1450 (2d Cir. 1996)...........................................................................................5, 6

S.E.C. v. McNulty,
       137 F.3d 732 (2d Cir. 1998)...............................................................................................11

S.E.C. v. Obus,
        693 F.3d 276 (2d Cir. 2012)...............................................................................................11

S.E.C. v. Simpson Capital Mgmt., Inc.,
        586 F. Supp. 2d 196 (S.D.N.Y. 2008)..................................................................................5




                                                                   ii
            Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 4 of 20




S.E.C. v. Stoker,
        865 F. Supp. 2d 457 (S.D.N.Y. 2012)........................................................................2, 8, 12

S.E.C. v. Stoker,
        873 F. Supp. 2d 605 (S.D.N.Y. 2012)............................................................................2, 10

S.E.C. v. U.S. Environmental, Inc.,
        155 F.3d 107 (2d Cir. 1998).................................................................................................6

United States v. Autuori,
       212 F.3d 105 (2d Cir. 2000)...............................................................................................12

United States v. Doherty,
       969 F.2d 425 (7th Cir. 1992) .............................................................................................12

United States v. Persky,
       520 F.2d 283 (2d Cir. 1975)...............................................................................................12

United States v. Rybicki,
       354 F.3d 124 (2d Cir. 2003)...............................................................................................12

USA Certified Merchs., LLC v. Koebel,
      262 F. Supp. 2d 319 (S.D.N.Y. 2003)..................................................................................8

Wright v. Ernst & Young LLP,
       152 F.3d 169 (2d Cir. 1998).................................................................................................6


STATUTES AND REGULATIONS

Section 17(a) of the Securities Act of 1933, 15 U.S.C. § 77q(a) ........................................... passim

Section 10(b) of the Exchange Act of 1934, 15 U.S.C. § 78j(b) ........................................... passim

Rule 10b-5, 17 C.F.R. § 240.10b-5 ........................................................................................ passim

Fed. R. Civ. P. 9(b) ......................................................................................................................4, 8

Fed. R. Civ. P. 12(b) ........................................................................................................................8




                                                                     iii
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 5 of 20




       Plaintiff, the Securities and Exchange Commission (“SEC” or “Commission”),

respectfully submits this memorandum of law in opposition to defendant Fabrice Tourre’s

motion in limine to preclude the SEC from offering evidence or argument in support of a scheme

theory of liability (Dkt. No. 296).

                                PRELIMINARY STATEMENT

       Under the guise of a “motion in limine,” the defense has filed what is in effect a second

motion for summary judgment seeking to eliminate from this case the SEC’s scheme liability

claims against Tourre under Section 10(b) of the Exchange Act, and Rule 10b-5(a) and (c)

thereunder, and Section 17(a)(1) and (3) of the Securities Act. To justify this belated motion for

summary judgment in disguise, the defense feigns surprise that the SEC intends to proceed under

the scheme liability theory that it has alleged explicitly from the outset of this case. The reality

is that the defense chose to place all of its motion for summary judgment eggs in the Morrison

basket. That tactical decision failed. The defense should not now be permitted to raise a second

round of legal and factual challenges to the SEC’s case that it elected to forgo at summary

judgment.

       Since the outset of this case, the SEC has expressly alleged in its Complaint and

Amended Complaint that Tourre’s conduct with regard to the structuring and marketing of the

ABACUS 2007-AC1 (“AC1”) transaction gave rise to liability both for material misstatements

and omissions, in violation of Rule 10b-5(b) and Section 17(a)(2), and for participation in a

fraudulent scheme and course of business, in violation of Rule 10b-5(a), (c) and Section 17(a)(1),

(3). The Amended Complaint, after outlining at length the conduct at issue, alleges that Tourre

thereby “employed devices, schemes or artifices to defraud” and “engaged in transactions,

practices or courses of business which operated or would operate as a fraud or deceit.” Amend.

Compl. ¶¶ 6, 76, 80. Given these allegations, the defense cannot credibly claim shock or surprise

                                                 1
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 6 of 20




at the SEC’s intent to proceed in the alternative on a scheme liability theory at trial. Indeed, the

parties conducted extensive discovery on both theories during the last several years. That the

defense chose not to challenge the SEC’s scheme allegations at the motion to dismiss stage and

chose not to raise any of the current scheme liability arguments at summary judgment is hardly a

basis for precluding the SEC from proving and arguing at trial the scheme liability theory that it

has alleged from the outset.

       Furthermore, the SEC’s scheme liability theory is well-grounded in the law, as Judge

Rakoff recently recognized in denying defense motions to dismiss and for summary judgment

with regard to the scheme liability claim in SEC v. Stoker, No. 11 Civ. 7388 (S.D.N.Y.). Though

the complaint in Stoker did not did not use the word “scheme” at all (in contrast to the

complaints here), Judge Rakoff nonetheless recognized that the SEC had alleged scheme liability

under Section 17(a)(3) and found the evidence sufficient to go to the jury on the theory that the

defendant “undertook a deceptive scheme or course of conduct that went beyond the

misrepresentations” alleged. S.E.C. v. Stoker, 873 F. Supp. 2d 605, 614 (S.D.N.Y. 2012).

Specifically, Judge Rakoff found sufficient for scheme liability purposes the SEC’s allegations

that Citigroup believed that certain mortgage-based assets would perform poorly, that Citigroup

structured a CDO specifically so that it could take a short position on those assets, that Citigroup

engaged a collateral manager to help sell the transaction to investors, and that the CDO’s notes

were then sold to investors without disclosure that Citigroup was betting that the assets in the

CDO would fail. See id. at 615. As Judge Rakoff observed, those allegations were “a rather

straightforward fraud.” S.E.C. v. Stoker, 865 F. Supp. 2d 457, 462 (S.D.N.Y. 2012). And,

according to Judge Rakoff, that fraudulent course of conduct fit well within the scheme liability

theory. Stoker, 873 F. Supp. 2d at 614. The fraudulent scheme alleged here is not meaningfully




                                                 2
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 7 of 20




distinguishable from that in Stoker. And as in Stoker, the SEC should be permitted to present its

scheme liability claims to the jury.

                                       BACKGROUND

       A. The SEC’s Amended Complaint.

       The SEC’s Amended Complaint alleges three claims against Tourre: (1) a primary

violation of Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a); (2) a primary violation of

Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5;

and (3) aiding and abetting the violations of Section 10(b) and Rule 10b-5 by Goldman Sachs &

Co. (“GS&Co”).       These claims arise out of the structuring and marketing of the AC1

collateralized debt obligation (“CDO”) transaction by Tourre and GS&Co in order to allow the

Paulson & Co., Inc. hedge fund (“Paulson”) to take a short position on the AC1 reference

portfolio of residential mortgage-backed securities (“RMBS”). Amend. Compl. ¶¶ 1-2. By late

2006, it became clear that the successful marketing of such a CDO to long investors required that

the CDO’s reference portfolio be selected by a portfolio selection agent.         Id. ¶¶ 20-21.

Accordingly, Tourre arranged for ACA Management LLC (together with affiliates, “ACA”) to

serve as portfolio selection agent for the AC1 transaction by misleading ACA, directly and

indirectly, regarding Paulson’s intent to make a long investment in the equity tranche of the AC1

transaction. Id. ¶¶ 23, 45-51. Believing that Paulson was to be an equity investor in the AC1

transaction, ACA worked with Paulson to select the AC1 reference portfolio. Id. ¶ 52. Tourre,

through GS&Co, then marketed the AC1 transaction to dozens of potential long investors by

means of the misleading representation that the AC1 reference portfolio was “selected by ACA”

with no mention of Paulson’s adverse economic interest and substantial role in the selection

process. Id. ¶ 40, 43, 66. Ultimately, the AC1 long investors sustained losses in excess of $1

billion. Id. ¶ 5, 72-73. The opening paragraphs of the Amended Complaint allege that these


                                               3
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 8 of 20




“transactions, acts, practices, and a course of business . . . violated Section 17(a) . . . , Section

10(b) . . . and Exchange Act Rule 10b-5.” Id. ¶ 6.

       After describing the course of fraudulent conduct by Tourre and GS&Co, the Amended

Complaint specifies the SEC’s three claims for relief. The First Claim alleges that “Tourre

violated Section 17(a)(1), (2) and (3).” Id. ¶ 75. More specifically, that claim alleges that, “[a]s

set forth above, Tourre . . . (a) employed devices, schemes or artifices to defraud; (b) obtained

money or property by means of untrue statements of material facts or omissions . . . ; or (c)

engaged in transactions, practices or courses of business which operated or would operate as a

fraud or deceit upon purchasers of securities.” Id. ¶ 76. 1 Similarly, the Second Claim alleges

that Tourre violated Section 10(b) and Rule 10b-5.                Id. ¶ 79.     Specifically, the Amended

Complaint alleges that, “[a]s set forth above, Tourre . . . (a) employed devices, schemes or

artifices to defraud; (b) made untrue statements of material facts or omissions . . . ; or (c)

engaged in transactions, practices or courses of business which operated or would operate as a

fraud or deceit upon persons.” Id. ¶ 80. Finally, the Third Claim alleges that “Tourre aided and

abetted violations by GS&Co of the federal securities laws.” Id. ¶ 83. That claim goes on to

allege that “GS&Co employed fraudulent devices, made untrue statements of material facts and

omissions . . . and engaged in transactions that operated as a fraud or deceit upon persons.” Id.

       B. Tourre’s Motion to Dismiss the Amended Complaint.

       On December 9, 2010, Tourre moved to dismiss the Amended Complaint, arguing (1)

that ACA was not misled, (2) that the SEC had failed to specify, in accordance with Federal Rule

of Civil Procedure 9(b), the identities of the other domestic investors defrauded by Tourre, and

(3) that the transactions at issue were not domestic for purposes of Morrison. Deft’s Mem. of

Law in Support of Motion to Dismiss (Dkt. No. 52). For whatever strategic reason, Tourre did

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       The SEC’s original Complaint contains this same allegation. (Dkt. No. 1, at ¶ 69).



                                                       4
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 9 of 20




not move to dismiss the SEC’s scheme liability claims, either for lack of specificity or for failure

to state a claim. Compare S.E.C. v. Simpson Capital Mgmt., Inc., 586 F. Supp. 2d 196, 203

(S.D.N.Y. 2008) (defendant’s moved to dismiss claims under Rule 10b-5(a), (c) for failure to

state a claim on the ground that the “the Complaint merely repeats the language of” Rule 10b-5).

       C. Discovery.

       Throughout domestic discovery, the parties examined the alleged fraudulent scheme in

detail. For example, the parties deposed Paolo Pellegrini of Paulson about his desire in late 2006

to short a portfolio of 2006-vintage RMBS, Paulson’s retention of GS&Co to structure and

market a CDO to execute Paulson’s short position, the need for a portfolio selection agent in

order to market the CDO to potential long investors, Pellegrini’s efforts to deceive portfolio

selection agents into participating in the contemplated CDO transaction by “playing the role of

an equity investor” in his meetings with prospective portfolio selection agents, Tourre’s

deception of the portfolio selection agent, Pellegrini’s interactions with ACA in the course of

selecting the AC1 reference portfolio, and the criteria Paulson applied in attempting to identify

for the AC1 reference portfolio RMBS that were likely to experience credit events.

       D. Motions for Partial Summary Judgment.

       At the close of discovery, Tourre moved for partial summary judgment only on Morrison

grounds. (Dkt. No.185). The SEC moved for partial summary judgment on its claim under

Section 17(a). (Dkt No. 191). In its opening brief in support of that motion, the SEC expressly

cited subsections (1) and (3) of Section 17(a). (Dkt. No. 192, at 14 (“For purposes of a Section

17(a) claim, a defendant is liable if he ‘employ[s]’ or ‘engages in’ the fraud. 15 U.S.C. §

[77q](a)(1), (3).”). The SEC also quoted the Second Circuit’s decision in S.E.C. v. First Jersey

Securities, Inc., 101 F.3d 1450, 1471 (2d Cir. 1996), to the effect that, under Section 17(a),

“[p]rimary liability may be imposed not only on persons who made fraudulent representations


                                                 5
       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 10 of 20




but also on those who had knowledge of the fraud and assisted in its perpetration.” (Dkt. No.

192, at 14). In opposition to the SEC’s motion, the defense noted that First Jersey involved a

scheme and maintained that its holding had been limited by the Second Circuit in Wright v. Ernst

& Young LLP, 152 F.3d 169, 172 (2d Cir. 1998). (Dkt. No. 227, at 12). In reply, the SEC noted

that the holding of First Jersey was reaffirmed by the Second Circuit in S.E.C. v. U.S.

Environmental, Inc., 155 F.3d 107, 111 (2d Cir. 1998). (Dkt. No. 253, at 9).

       On April 26, 2013, this Court held a lengthy hearing on the parties’ summary judgment

motions and other issues. At no time during that hearing did the defense raise any objection to

the SEC’s scheme liability argument as being un-alleged in the Amended Complaint. Nor was

any motion to strike filed with regard to those portions of the SEC’s briefs arguing that Tourre

was subject to scheme liability.

       On June 4, 2013, this Court ruled on the SEC’s motion for partial summary judgment.

(Dkt. No. 302). While denying that portion of the SEC’s motion that sought partial summary

judgment on the Section 17(a) scheme liability claim, this Court recognized the continuing

vitality of the holding of First Jersey, stating that, to be liable under Section 17(a), “the

defendant need not speak a falsehood directly to a defrauded investor; it is enough to have

‘knowledge of the fraud and [to have] assisted in its perpetration.’” (Id. at 9 (quoting First

Jersey, 101 F.3d at 1471)).

                                         ARGUMENT

I.     The SEC’s Scheme Liability Claim Under Both Rule 10b-5(a), (c) and Section
       17(a)(1), (3) Should Be Presented To The Jury.

       The defense moves in limine to preclude the SEC from offering evidence or argument at

trial relating to the scheme liability theory under Rule 10b-5 and Section 17(a). According to the

defense, “[t]he Complaint made no allegation of a scheme,” Deft’s Mem. at 3, if the Complaint



                                                6
       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 11 of 20




did make such an allegation it was only in “one boilerplate paragraph,” id. at 4, the Amended

Complaint fails to allege the scheme “with specificity,” id. at 6, and the allegations are

insufficient to support a scheme liability claim. These belated arguments merit little response.

       A. The Amended Complaint Expressly Alleges Scheme Liability.

       The defense’s bold claim that “[t]he Complaint made no allegation of a scheme” is belied

by the plain language of the Amended Complaint. As noted above, the introductory paragraphs

of the Amended Complaint allege that “GS&Co and Tourre directly and indirectly engaged in

transactions, acts, practices, and a course of business that violated Section 17(a) . . ., Section

10(b) . . . and Exchange Act Rule 10b-5.”     Amend. Compl. ¶ 6. The Amended Complaint goes

on to allege that “Tourre violated Section 17(a)(1), (2) and (3) of the Securities Act,” id. ¶ 75, in

that he “employed devices, schemes or artifices to defraud” and “engaged in transactions,

practices, or courses of business which operated or would operate as a fraud,” in violation of

both Section 17(a)(1), (2) and Rule 10b-5(a), (c), id. ¶¶ 76, 80. In short, the Amended Complaint

explicitly alleged that Tourre’s specified conduct gave rise to scheme liability under both Rule

10b-5 and Section 17(a).

       Tourre responds by noting that the Amended Complaint also contains numerous

allegations of false statements and omissions. See Deft’s Mem. at 3-4. While true, such

allegations are in no way inconsistent with a scheme liability theory. As this Court recognized in

IBEW Local 90 Pension Fund v. Deutsche Bank AG, No. 11 Civ. 4209(KBF), 2013 WL 1223844

(S.D.N.Y. Mar. 27, 2013), a fraudulent scheme “may, but need not necessarily, involve

separately actionable statements.” Id. at *1. The Amended Complaint here alleges a scheme to

design a CDO to allow Paulson to take a short interest in the CDO’s reference portfolio, to trick

a portfolio selection agent into participating in the transaction in order to make the CDO

marketable to long investors, and then to deceive those long investors by omitting to mention


                                                 7
       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 12 of 20




Paulson’s role in the selection of the CDO’s reference portfolio. That this deceptive scheme also

involves separately actionable misstatements is unremarkable.

       Tourre counters that “the appearance of the word ‘scheme’ in the recitation of statutory

language at the back end of the Complaint” is insufficient because the scheme liability claim was

not alleged with specificity under Federal Rule of Civil Procedure 9(b). Deft’s Mem. at 5-8. A

motion in limine, however, is not the proper vehicle for objecting that a complaint fails to allege

the elements of scheme claim with the specificity required by Rule 9(b). If the defense wished to

make that argument, it should have been made long ago during motions practice at the pleading

stage, not in the weeks before trial by means of a purported motion in limine. See Fed. R. Civ. P.

12(b) (providing that a motion asserting the defense of failure to state claim “must be made

before pleading if a responsive pleading is allowed”); USA Certified Merchs., LLC v. Koebel,

262 F. Supp. 2d 319, 332-33 (S.D.N.Y. 2003) (refusing to consider defendant’s argument under

Rule 9(b) that complaint failed to allege fraud with particularity when raised after the close of

discovery).

       B. The Amended Complaint Alleges An Actionable Scheme.

       Tourre further argues that a motion to dismiss the scheme liability claim “would have

been exceptionally robust,” Deft’s Mem. at 9, but asserts that he did not file such a motion

because he did not “underst[and] there to be a claim of scheme liability in this case,” id. at 9.

For the reasons explained above, Tourre’s contention that he was unaware of a scheme liability

claim despite its express allegation in the Amended Complaint is specious.

       In any event, a motion to dismiss the SEC’s scheme liability claim, however “robust,”

would have failed just as did the similar motion in SEC v. Stoker, No. 11 Civ. 7388 (S.D.N.Y.).

In Stoker, the defendant worked in the division of Citigroup that structured and marketed CDOs.

865 F. Supp. 2d at 459. The SEC alleged that Citigroup created a CDO so that Citigroup could


                                                8
       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 13 of 20




short assets into the CDO in the amount of approximately $500 million. See id. at 460-61. In

order to facilitate the marketing of the CDO’s notes to long investors, Citigroup retained a

portfolio selection agent purportedly to select the assets included in the CDO’s portfolio. Id. at

459-60. The portfolio selection agent, however, was selecting assets from lists provided by

Citigroup. Id. at 460. Citigroup and Stoker then marketed the CDO notes to investors by means

of an offering circular and pitch book that emphasized the role of the portfolio selection agent in

constructing the CDO’s portfolio without mentioning Citigroup’s role or intended short position

on the CDO’s assets. Id. at 461.

       Based on these allegations, the SEC sued Stoker asserting both a misrepresentation claim

under Section 17(a)(2) and a scheme liability claim under Section 17(a)(3). Id. at 458.        The

defendant moved to dismiss the scheme liability claim on the ground that it was not legally

viable in that it merely duplicated the misrepresentation claim. Judge Rakoff rejected this

argument, explaining that “a defendant may be liable under Section 17(a)(2) and Section 17(a)(3)

based on allegations stemming from the same set of facts as long as the SEC alleges that the

defendants ‘undertook a deceptive scheme or course of conduct that went beyond

misrepresentations.’” Id. at 467 (quoting In re Alstom SA Sec. Litig., 406 F. Supp. 2d 433, 475

(S.D.N.Y. 2005)). Judge Rakoff concluded that the complaint “alleges a course of conduct

beyond the misrepresentations that are covered by Section 17(a)(2). The misrepresentations and

omissions were part of that conduct, but they were not the entirety of it.”            Id. at 467.

Specifically, Judge Rakoff noted that the rationale for the CDO’s creation was to allow Citigroup

to short certain assets for its own account, Citigroup engaged a collateral manager because it

knew that it could not sell the CDO notes to investors unless the portfolio was chosen by a

reputable outside entity, Citigroup worked with the collateral manager to include certain assets in




                                                9
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 14 of 20




the CDO so that Citigroup could short them, and Stoker marketed the CDO to prospective

investors by sending the pitch book “even though he knew that Citigroup had chosen assets for

the [CDO] that it believed were likely to perform poorly.” Id. at 467-68. These allegations,

Judge Rakoff concluded, were “more than sufficient to state a claim under Section 17(a)(3).” Id.

at 468. At summary judgment, Stoker again challenged the SEC’s scheme liability claim, and

Judge Rakoff again ruled that the evidence “would be more than sufficient for the SEC to prevail

on this claim.” Stoker, 873 F. Supp. 2d at 615.

       Judge Rakoff’s ruling in Stoker is similar to this Court’s scheme liability ruling in IBEW

Local 90, supra. In that case, this Court described the alleged scheme as one to maximize

Deutsche Bank’s profit “by originating or acquiring residential mortgages and by packaging

them into residential mortgage-backed securities (‘RMBS’) and collateralized debt obligations

(‘CDOs’), which they knew presented far greater risk than they told the market.” 2013 WL

1223844, at *1. The only alleged deceptive acts identified by this Court were the false and

misleading statements by the defendants to investors. See id. at *6. Nevertheless, this Court

held that the allegations were sufficient to state a scheme liability claim. Id. at *13-14.

       As in Stoker and IBEW Local 90, the allegations and evidence in this case are more than

sufficient to constitute an actionable scheme and course of conduct under Section 17(a)(1), (3)

and Rule 10b-5(a), (c). The Amended Complaint alleges that:

       In sum, GS&Co and Tourre arranged a transaction at Paulson’s request in which
       Paulson heavily influenced the selection of the portfolio to suit its economic
       interests, but failed to disclose to investors, as part of the description of the
       portfolio selection process contained in the marketing materials used to promote
       the transaction, Paulson’s role in the portfolio selection process or its adverse
       economic interests.

Amend. Compl. ¶ 3. In furtherance of this scheme, Tourre tricked ACA into serving as the

portfolio selection agent by misleading ACA into believing that Paulson was an equity investor.



                                                  10
         Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 15 of 20




Id. ¶¶ 4, 46. The Amended Complaint alleges that Tourre, by these “transactions, acts, practices

and . . . course of business . . . violated Section 17(a) . . . , Section 10(b) . . . and Exchange Act

Rule 10b-5.” Id. ¶ 6. These allegations, if proven at trial, are more than sufficient to establish an

actionable securities fraud scheme.

         C. The Subsections Of The SEC’s Fraud Claims Should Not Be Considered
            Piecemeal.

         The defense effort to force this Court to resolve the SEC’s scheme liability claim on a

“motion in limine” detached from a consideration of the full reach of Section 17(a) and Rule

10b-5 risks creating anomalous results. The Supreme Court has repeatedly explained that the

federal securities laws should be construed “not technically and restrictively, but flexibly to

effectuate [their] remedial purposes.” S.E.C. v. Capital Gains Research Bureau, 375 U.S. 180,

195 (1963). In particular, the Supreme Court has held that Section 10(b) is “meant to prohibit

the full range of ingenious devices that might be used,” Santa Fe Industries, Inc. v. Green, 430

U.S. 462, 477 (1977), and is “cumulative” in its construction, Herman & MacLean v.

Huddleston, 459 U.S. 375, 384 (1983). Accordingly, the Commission has long held that “the

three main subdivisions of Section 17 and Rule 10b-5 have been considered to be mutually

supporting rather than mutually exclusive.” In the Matter of Cady, Roberts & Co., 40 S.E.C.

907, 1961 WL 60638, at *4 (Nov. 8, 1961). 2 “Thus, a breach of duty of disclosure may be

viewed as a device or scheme, an implied misrepresentation, and an act or practice, violative of

all three subdivisions.” Id. 3 The defense, however, presents the scheme liability issue to this


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          The Second Circuit has cited the Cady, Roberts & Co. decision with approval. See, e.g., S.E.C. v. Obus,
693 F.3d 276, 284 (2d Cir. 2012). This is consistent with the principle that the SEC’s interpretation of the
Commission’s regulations and the Securities Act “is entitled to judicial deference.” In re Morgan Stanley Info. Fund
Sec. Litig., 592 F.3d 347, 352 (2d Cir. 2010); see also S.E.C. v. McNulty, 137 F.3d 732, 740-41 (2d Cir. 1998).
3
        The defense cites a handful of district court cases for the proposition that a scheme liability claim requires
“a deceptive act separate and distinct from the alleged misstatements and omissions.” Deft’s Mem. at 6 (citing
cases). None of the decisions Tourre cites for this proposition attempt to reconcile their holdings with the language



                                                         11
         Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 16 of 20




Court in isolation, presumably saving for another day its (meritless) argument that Tourre is also

not liable under Rule 10b-5(b) as the “maker” of the false statements at issue, as that term was

interpreted in Janus Capital Group, Inc. v. First Derivative Traders, 131 S. Ct. 2296 (2011).

While this piecemeal approach is certainly a clever tactic, these substantive legal issues, taken in

isolation, are hardly the stuff of a “motion in limine.” If Tourre wished to raise these arguments,

he should have done so through a motion to dismiss or for summary judgment. Having passed

on that option, his substantive arguments should now await the close of the SEC’s case and his

Rule 50 motion when they can be considered in a comprehensive way.

         D. The Defense Conducted Discovery Regarding the Alleged Scheme.

         The defense contends that, had it known of the SEC’s (expressly alleged) scheme liability

claim, different steps would have been taken in discovery. See Deft’s Mem. at 8-9. For

example, the defense asserts that it would have served a Rule 12(e) request for a more definite

statement regarding “the identities of everyone that SEC believes were members of the supposed



of the statute and rule, the Commission’s interpretations of that language, or Supreme Court’s decisions. For
example, in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), the Supreme Court held that
liability under Rule 10b-5(a) and (c) was established even though the case was one “involving primarily a failure to
disclose” to investors. See id. at 153. In that case, the defendants made misleading statements and omissions for
purposes of enticing investors to sell their securities. See id. at 152-53. No additional or “distinct” deceptive
conduct was present. Yet the Court concluded that this conduct fell squarely within the scope of scheme liability
under subsections (a) and (c) of Rule 10b-5. See id. at 153. A judicially created requirement of deceptive conduct
“separate and distinct” from misrepresentations in order to state a scheme liability claim cannot be squared with that
decision. Nor can the district court holdings cited by Tourre be reconciled with the broad language of Section 17(a)
and Rule 10b-5, which both apply to “any” fraudulent scheme or course of conduct. Section 17(a) was modeled
after the mail fraud statute. See Stoker, 865 F. Supp. 2d at 463 (“It is worth noting that Section 17(a) is modeled on
the federal mail fraud statute”). Rule 10b-5, in turn, was modeled after Section 17(a). United States v. Persky, 520
F.2d 283, 287 (2d Cir. 1975). For more than a century it has been understood that misrepresentation cases are at the
core of the “scheme to defraud” outlawed by the mail fraud statute. See Durland v. United States, 161 U.S. 306,
314-15 (1896). (holding that a scheme to defraud “includes everything designed to defraud by representations as to
the past or present”). And as the Second Circuit more recently said, “the phrase ‘scheme or artifice to defraud’
requires ‘material misrepresentations.’” United States v. Rybicki, 354 F.3d 124, 146 n.20 (2d Cir. 2003) (quoting
United States v. Autuori, 212 F.3d 105, 115 (2d Cir. 2000)) (emphasis added); see also United States v. Doherty, 969
F.2d 425, 429 (7th Cir. 1992) (“As its ordinary meaning suggests, the term ‘scheme to defraud’ describes a broad
range of conduct, some of which involve false statements or misrepresentations of fact and others which do not.”
(internal citations omitted)). In any event, the Court need not resolve here the full scope of scheme liability under
Section 17(a) and Rule 10b-5 because, as discussed above, the SEC has alleged and can prove conduct in
furtherance of the scheme beyond the misrepresentations to investors.



                                                         12
         Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 17 of 20




scheme.” Id. at 9. This argument rings hollow. Tourre has been defended throughout this

litigation by able counsel who has vigorously contested the SEC at every stage of the litigation.

Numerous witnesses have been deposed concerning the origin of the AC1 transaction, Paulson’s

role in the asset selection and economic interest in the AC1 reference portfolio, the need for a

portfolio selection agent to market the transaction to potential long investors, Tourre’s role in

identifying and then deceiving ACA into serving as portfolio selection agent, Tourre’s role in the

preparation of the AC1 marketing materials, the worldwide marketing efforts with regard to the

AC1 transaction, and the substantial profits reaped by Paulson as a result of this scheme. If the

defense chose not to take additional steps during discovery, whether for strategic reasons or

otherwise, that is not something for which the SEC should now be penalized by an order

precluding it from arguing an alleged and legally-supportable theory of Tourre’s liability. 4 And

the recent arrival of new lead trial counsel for the defense does not reset the clock and afford new

counsel the opportunity to make motions, take discovery, and advance legal arguments that

original counsel long ago chose to forgo.

II.      The Admissibility Of The January 17 Recording At Trial Does Not Depend On
         Scheme Liability.

         Finally, the defense attempts to utilize its scheme liability motion as a vehicle to revive

its failed efforts to exclude the January 17 recording from evidence at trial. In particular, the

defense suggests that the SEC’s reliance on scheme liability is necessary to admit the January 17

recording at trial. This argument is a figment of the defense imagination.




4
         The SEC submits that the Court should be skeptical of this latest defense claim of prejudice it has suffered
in discovery. As the Court will recall, the defense sought to exclude the January 17 recording by claiming that
allowing the recording into evidence would require the “Court to re-open the depositions of numerous individuals
already deposed in this litigation as well as allow depositions of individuals who have never been deposed.” (Dkt.
No. 210, at 13-14). Now that the Court has allowed the SEC to use the recording, the defense has not noticed a
single deposition.



                                                        13
        Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 18 of 20




        As explained at the April 26, 2013 hearing before this Court, the SEC expects to

introduce testimonial and documentary evidence at trial establishing that Tourre was the source

of the misinformation communicated to ACA by GS&Co salesperson Gail Kreitman in the

January 17 telephone call. In that recorded call, Ms. Kreitman falsely advised ACA that Paulson

was an equity investor in the AC1 transaction. Mr. Tourre testified that his “traditional protocol”

was to communicate with ACA through Ms. Kreitman. (Martens Decl., Ex. 1, Tourre Dep. at

194).   Tourre copied Ms. Kreitman on the January 10, 2007 e-mail that he sent to Laura

Schwartz and in which he falsely stated that the first loss tranche of the AC1 CDO transaction

was “pre-committed.” (Martens Decl., Ex. 2). On the morning of the January 17 call, Tourre

wrote to Ms. Kreitman with the emphatic message, “Let’s try to close the loop with ACA this

morning !” (Martens Decl., Ex. 3). Shortly before the call that day, Tourre and Ms. Kreitman

apparently met to discuss the AC1 transaction.        (Martens Decl., Ex. 4).     This and other

documentary evidence, combined with Ms. Kreitman’s expected testimony, is more than

sufficient to allow a reasonable jury to find Tourre responsible, under Rule 10b-5 and Section

17(a), for the January 17 misstatement to ACA.

        The defense contention that the SEC suddenly invoked the scheme liability theory in the

summary judgment briefing as a result of concern over the admissibility of the January 17

recording is without basis. As noted above, the scheme liability theory has been in the case since

the outset. And the SEC will easily establish the admissibility of the January 17 recording in

support of its misrepresentation theory of liability. The SEC relied on the scheme liability theory

in its summary judgment papers because, at the summary judgment stage, the inferences must be

drawn in the non-movant’s favor. While the inference that Tourre was the source of Ms.

Kreitman’s misinformation is overwhelming, the SEC’s summary judgment papers were framed




                                                14
       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 19 of 20




to avoid reliance on that inference. The scheme liability theory provided a basis for granting

summary judgment to the SEC, given Tourre’s documented participation in the scheme through

his false January 10 e-mail, even without drawing the inference in the SEC’s favor at summary

judgment that Tourre was the source of the inaccurate information conveyed by Ms. Kreitman in

the January 17 recording. As the SEC made clear in its summary judgment papers, the theory on

which it moved for summary judgment was narrower than the theory on which the SEC intends

to try the case. (Dkt. No. 253, at 12). Both theories will be part of the SEC’s presentation at

trial, as both were alleged in the SEC’s Amended Complaint more than two years ago.

                                       CONCLUSION

       For the foregoing reasons, the SEC respectfully submits that this Court should deny the

defense motion to preclude evidence or argument concerning Tourre’s scheme to defraud and his

transactions, practices, and courses of business that operated as a fraud or deceit on others,

including AC1 investors.


Dated: Washington, D.C.                            Respectfully submitted,
       June 13, 2013
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                                              15
       Case 1:10-cv-03229-KBF Document 319 Filed 06/13/13 Page 20 of 20




                               CERTIFICATE OF SERVICE

       I certify that on June 13, 2013, I directed the foregoing SEC’S MEMORANDUM IN

OPPOSITION TO TOURRE’S MOTION IN LIMINE TO PRECLUDE EVIDENCE OR

ARGUMENT CONCERNING SCHEME LIABILITY to be electronically filed using the

CM/ECF system, which will send notification of such filing to the following email addresses:


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                                              16
